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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                 )
CARDIONET, LLC,                                  )
                                                 )
                and                              )   Civil Action No. 1:15-cv-11803-IT
                                                 )
BRAEMAR MANUFACTURING, LLC,                      )   Hon. Indira Talwani
                                                 )
                Plaintiffs,                          JURY TRIAL DEMANDED
                                                 )
       v.                                        )
                                                 )
INFOBIONIC, INC.,                                )   Leave to file granted on March 20, 2017
                                                 )
                Defendant.                       )
                                                 )


                  THIRD AMENDED COMPLAINT AND JURY DEMAND

       Plaintiffs CardioNet, LLC and Braemar Manufacturing, LLC (collectively, “CardioNet”),

for their Third Amended Complaint against InfoBionic, Inc. (“InfoBionic”), allege as follows:


                                         THE PARTIES

       1.       Plaintiff CardioNet, LLC is a corporation organized and existing under the laws

of the State of Delaware, having its principal place of business at 1000 Cedar Hollow Road,
Malvern, PA 19355. CardioNet is a leading provider of ambulatory outpatient management

solutions for monitoring clinical information regarding an individual’s health.

       2.       Plaintiff Braemar Manufacturing, LLC (“Braemar”) is a corporation organized

and existing under the laws of the State of Delaware, having its principal place of business at

1285 Corporate Center Drive, Suite 150, Eagan, MN 55121. Braemar develops and

manufactures ambulatory cardiac monitors for leading healthcare companies.
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       3.       Upon information and belief, defendant InfoBionic, Inc. is a corporation

organized under the laws of the State of Delaware, having its principal place of business at

600 Suffolk Street, Lowell, MA 01854.

                                   JURISDICTION AND VENUE

       4.       This is an action for patent infringement arising under the patent laws of the

United States, Title 35, United States Code; for misappropriation of trade secrets under

Massachusetts General Laws, Chapter 93, § 42 and Massachusetts Common Law; for violation

of Pennsylvania’s Uniform Trade Secrets Act; and for unfair competition under Massachusetts

General Laws, Chapter 93A, and Pennsylvania Common Law.

       5.       This Court has jurisdiction over CardioNet’s patent infringement claims pursuant

to 28 U.S.C. §§ 1331 and 1338(a). This Court has supplemental jurisdiction over CardioNet’s

state law claims under 28 U.S.C. § 1367 and 1338(b).

       6.       This Court also has jurisdiction over this action pursuant to 28 U.S.C. § 1332, in

that the parties are citizens of different states and the amount in controversy exceeds $75,000.00,

exclusive of interest and costs.

       7.       Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b) and (c) and

1400(b).

                                               FACTS

       8.       U.S. Patent No. 6,940,403 (the “‘403 patent”), entitled “Reprogrammable Remote

Sensor Monitoring System,” was duly and legally issued on September 6, 2005. CardioNet, Inc.

was the original owner by assignment of all right, title, and interest in and to the ‘403 patent,

including without limitation the right to sue and recover for past infringement thereof. A copy of

the ‘403 patent is attached as Exhibit A to this Complaint.

       9.       U.S. Patent No. 6,225,901 (the “‘901 patent”), entitled “Reprogrammable Remote

Sensor Monitoring System,” was duly and legally issued on May 1, 2001. CardioNet, Inc. was

the original owner by assignment of all right, title, and interest in and to the ‘901 patent,


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including without limitation the right to sue and recover for past infringement thereof. A copy of

the ‘901 patent is attached as Exhibit B to this Complaint.

       10.     U.S. Patent No. 7,212,850 (the “‘850 patent”), entitled “System and Method for

Processing and Presenting Arrhythmia Information to Facilitate Heart Arrhythmia Identification

and Treatment,” was duly and legally issued on May 1, 2007. CardioNet, Inc. was the original

owner by assignment of all right, title, and interest in and to the ‘850 patent, including without

limitation the right to sue and recover for past infringement thereof. A copy of the ‘850 patent is

attached as Exhibit C to this Complaint.

       11.     U.S. Patent No. 7,907,996 (the “‘996 patent”), entitled “System and Method for

Processing and Presenting Arrhythmia Information to Facilitate Heart Arrhythmia Identification

and Treatment,” was duly and legally issued on March 15, 2011. CardioNet, Inc. was the

original owner by assignment of all right, title, and interest in and to the ‘996 patent, including

without limitation the right to sue and recover for past infringement thereof. A copy of the

‘996 patent is attached as Exhibit D to this Complaint.

       12.     U.S. Patent No. RE43,767 (the “‘767 patent”), entitled “Control of Data

Transmission Between a Remote Monitoring Unit and a Central Unit,” was duly and legally

(re)issued on October 23, 2012. The ‘767 patent is a reissue of U.S. Patent No. 6,694,177 which

was duly and legally issued on February 17, 2004. CardioNet, Inc. was the original owner by

assignment of all right, title, and interest in and to the ‘767 patent, including without limitation

the right to sue and recover for past infringement thereof. A copy of the ‘767 patent is attached

as Exhibit E to this Complaint.

       13.     U.S. Patent No. 7,099,715 (the “‘715 patent”), entitled “Distributed Cardiac

Activity Monitoring with Selective Filtering,” was duly and legally issued on August 29, 2006.

CardioNet, Inc. was the original owner by assignment of all right, title, and interest in and to the

‘715 patent, including without limitation the right to sue and recover for past infringement

thereof. A copy of the ‘715 patent is attached as Exhibit F to this Complaint.




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       14.     On December 31, 2012, CardioNet, Inc. assigned all right, title, and interest in

and to the ‘403 patent, ‘901 patent, ‘850 patent, ‘996 patent, ‘767 patent, and ‘715 patent

(collectively, the “patents-in-suit”) to Braemar. Effective the same day, Braemar granted

CardioNet, Inc. an exclusive license to make, use, offer to sell, sell, import, license, and exploit

the patents-in-suit. The license grants CardioNet, Inc. an exclusive license to the patents-in-suit

in the field of applications and services for the monitoring and monitoring-related services of

medical monitoring and diagnostic devices, while all other rights, title, and interest in the

patents-in-suit are retained by Braemar. CardioNet, Inc. is now CardioNet, LLC as confirmed by

an August 1, 2013 Certificate of Conversion to Limited Liability Company of CardioNet, Inc. (a

Delaware corporation) to CardioNet, LLC (a Delaware limited liability company) filed with the

Secretary of State for the State of Delaware.

       15.     CardioNet’s Mobile Cardiac Outpatient TelemetryTM (MCOTTM) is a market

leader in the field of Mobile Cardiac Telemetry (“MCT”). The CardioNet MCOTTM was the first

commercialized MCT device on the market and was the result of substantial investment by

CardioNet. The CardioNet MCOTTM includes beat-to-beat, real-time analysis, automatic

arrhythmia detection, and wireless ECG transmission.

       16.     CardioNet spends millions of dollars per year developing new technologies and

protecting its inventions, including by filing for and obtaining United States patents. CardioNet

has also taken steps to protect its trade secret information, including by limiting access to this

information and requiring employees to sign nondisclosure and confidentiality agreements.

       17.     On information and belief, InfoBionic was founded in 2011. InfoBionic states

that it “empowers physicians with the control they need to transform the efficiency with which

they diagnose and monitor patients with cardiac arrhythmias.” (Ex. G (7/28/2016 capture of

http://infobionic.com/our-story/), pg. 1.)

       18.     InfoBionic claims that its “MoMe® Kardia system is the first and only wireless

remote patient monitoring platform to bring all aspects of cardiac arrhythmia detection and

monitoring management under physicians’ direct control ….” (Ex. H (7/28/2016 capture of


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http://infobionic.com/the-system/), pg. 1.) The MoMe® Kardia System uses a “single universal

device” that “enables physicians to remotely transition between Holter, Event, and MCT

technologies based on patient need at any given time during their monitoring period.” (Id. at

pg. 2.) The MoMe® Kardia System also uses a “Cloud-based model” with “the horsepower to

continuously stream and process full disclosure data via a proprietary algorithm for analysis.”

(Id. at 4.) The MoMe® Kardia System allows Physicians “access to the monitoring data …

through the convenient web-based MoMe® Kardia physician portal.” (Id. at 6.)

       19.     Upon information and belief, defendant InfoBionic has developed at least two

generations of the MoMe® Kardia System. The First Generation MoMe® Kardia System refers

to any system that can be marketed pursuant to 510(k) No. K133753 (Ex. J). The Second

Generation MoMe® Kardia System refers to any system that can be marketed pursuant to 510(k)

Nos. K152491 (Ex. K) and K160064 (Ex. L).

       20.     Upon information and belief, defendant InfoBionic actively solicits and does

business throughout this Judicial District, including making, using, offering for use, selling,

offering for sale, and/or importing the Second Generation MoMe® Kardia System, including the

MoMe® Kardia Device that records and transmits a patient’s electrocardiographic signal (Ex. K)

and the MoMe® Software System that detects arrhythmias and enables human review of

arrhythmia data (Ex. L).

       21.     InfoBionic’s MoMe® Kardia System directly competes with CardioNet’s

MCOTTM System. InfoBionic has stated publicly that CardioNet “is one of the companies we

are trying to disrupt with the MoMeTM system.” (Ex. J (11/25/2016 capture of

http://www.wpiventureforum.org/monthly10912.html), pg. 2.)

       22.     On information and belief, InfoBionic added “Kardia” to the original MoMe®

name. Accordingly, certain exhibits cited herein refer to the MoMe® Kardia System as simply

the “MoMeTM system.”

       23.     The 510(k) submission for the First Generation MoMe® Kardia System relied

upon CardioNet’s MCOTTM device as one of two predicate devices. (Ex. J, pgs. 5 and 7.) The


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510(k) submission states that “[t]he MoMe System Indications for use are aligned with both the

CardioNet and Preventice Indications” and that “[a]ll three devices are monitoring devices and

are classified under the same FDA classification code of 21 CFR 870.1025, DSI.” (Id. at pg. 8.)

The Software System 510(k) submission for the Second Generation MoMe® Kardia System

relied upon the First Generation MoMe® Kardia System as the sole predicate device (Ex. K, pg.

4), and the MoMe® Kardia 510(k) submission for the Second Generation MoMe® Kardia System

indicates that the MoMe® Kardia Device is to be used with the MoMe® Software System (Ex. L,

pg. 4).

          24.   At least four of the six members of the InfoBionic management team as it existed

on the date of this filing were previously employed by CardioNet: Ms. Anna McNamara;

Mr. Chris Strasinski; Mr. Philip Leone; and Mr. Bill Swavely. (Ex. M (11/25/2016 capture of

http://infobionic.com/management-team/).) Additionally, Dr. Ravi Kuppuraj was a member of

the InfoBionic management team at least as recently as January 2015 and also was previously

employed by CardioNet. (Ex. N (1/8/2015 capture of http://infobionic.com/persons/ravi-

kuppuraj-phd/).)

          25.   Dr. Ravi Kuppuraj was the Chief Technology Office & Co-Founder of InfoBionic

at least as recently as January 2015. (Ex. N.) He joined CardioNet in January 2001 as the

Director of ECG Analysis. His responsibilities included the development of CardioNet’s cardiac

arrhythmia detection algorithms. InfoBionic described Dr. Kuppuraj as “an integral team

member that developed and launched CardioNet’s revolutionary Mobile Cardiac Outpatient

Telemetry (MCOT) product.” (Ex. N.)

          26.   On or around November 8, 2000, prior to beginning his term of employment with

CardioNet, Dr. Kuppuraj signed a Confidentiality and Non-Disclosure Agreement, under which

he agreed that he would not reveal CardioNet’s confidential information at any time, would not

use such information to the benefit of a third party or to injure or cause loss to CardioNet, and

would return confidential information in his possession to CardioNet.




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       27.     On or around January 16, 2001, Dr. Kuppuraj was appointed the Director of ECG

for CardioNet and, in consideration of his continued employment, entered into agreements with

CardioNet, including an “At-Will Employment Agreement” (hereinafter “Employment

Agreement”) and a “Proprietary Information and Inventions Agreement” (hereinafter

“Proprietary Information Agreement”). Dr. Kuppuraj acknowledged in the Proprietary

Information Agreement that during his employment at CardioNet he would be given, and have

access to, confidential and proprietary information belonging to CardioNet, and agreed to

maintain the confidentiality of all such information at all times. The Proprietary Information

Agreement also obligated Dr. Kuppuraj to return all such property and information to CardioNet

upon the termination of his employment.

       28.     As Director of ECG Analysis for CardioNet, Dr. Kuppuraj had access to

CardioNet’s confidential, proprietary, and/or trade secret information, including but not limited

to CardioNet’s source code for its MCOTTM System. During his employment with CardioNet,

Dr. Kuppuraj developed and worked on the underlying source code for CardioNet’s MCOTTM

System, including algorithms for the detection of atrial fibrillation in a cardiac signal.

       29.     On December 15, 2002, Dr. Kuppuraj’s employment with CardioNet ended. At

that point, Dr. Kuppuraj was under an obligation to return any and all confidential information,

and under a continuing obligation not to use or distribute CardioNet’s confidential information.

       30.     Upon information and belief, at the conclusion of his employment with

CardioNet, Dr. Kuppuraj improperly accessed, copied, removed, and/or retained CardioNet’s

confidential information including, at least, portions of the source code written for CardioNet’s

MCOTTM System (hereinafter “the copied CardioNet source code”).

       31.     Upon information and belief, InfoBionic used the copied CardioNet source code

in the design and development of InfoBionic’s First Generation MoMe® Kardia System. In

particular, large portions of the copied CardioNet source code appear verbatim in the source code

produced by InfoBionic in this litigation in response to CardioNet’s Requests for Production.




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        32.     Ms. Anna McNamara is the Executive Vice President, Global Clinical Operations,

at InfoBionic. (Ex. M, pg. 3.) Ms. McNamara was employed by CardioNet for over 10 years.

She ultimately served as Senior Vice President, Clinical Operations and Research at CardioNet.

(Id.) While at CardioNet, Ms. McNamara “built the clinical operations department for a new

wireless technology” which “included developing and managing the clinical service, creating the

clinical research strategy, training and support for sales and marketing, working with R&D on

technology and software development and managing the Medical Advisory Board.” (Id.) Upon

information and belief, when Ms. McNamara left CardioNet in November 2013 she left to join

InfoBionic.

        33.     Mr. Chris Strasinski is the Executive Vice President, Sales and Marketing, at

InfoBionic. (Ex. M, pgs. 3-4.) Mr. Strasinski previously “held various sales roles at CardioNet

culminating in Senior Vice President Sales” and his “[s]ignificant achievements [at CardioNet]

included hiring over 80 sales representatives, acquiring synergistic businesses, and delivering

significant market share gains.” (Id.)

        34.     Mr. Philip Leone is the Executive Vice President, Reimbursement at InfoBionic.

(Ex. M, pgs. 1-2.) Mr. Leone was previously employed by CardioNet, “culminating as the

Senior Vice President of Reimbursement Services & Compliance and a Corporate Officer.”

(Id.) His employment with CardioNet ended in April 2011.

        35.     Mr. Bill Swavely is the Chief Innovation Officer at InfoBionic. (Ex. M, pg. 4.)

Mr. Swavely was previously employed as the Vice President of Information Technology at

CardioNet. His employment with CardioNet ended in August 2014 when he, upon information

and belief, left to join InfoBionic.

                        COUNT I - INFRINGEMENT OF ‘403 PATENT

        36.     CardioNet repeats and realleges the allegations contained in paragraphs 1 through

34 as if fully set forth here.




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       37.     InfoBionic has infringed the ‘403 patent by making, using, selling, offering for

sale, and/or importing in the United States and in this Judicial District, products, software, and/or

services that incorporate or make use of one or more of the inventions covered by the ‘403

patent, including but not limited to the Second Generation MoMe® Kardia System, thereby

infringing one or more claims of the ‘403 patent.

       38.     InfoBionic’s Second Generation MoMe® Kardia System satisfies each and every

element of one or more claims of the ‘403 patent, for example, and without limitation, claim 1 of

the ‘403 patent.

       39.     Claim 1 of the ‘403 patent recites:

       Apparatus for remotely monitoring and assessing the status of a human subject, the
          apparatus comprising:

       at least one automatic sensor associated with and monitoring the condition of the human
            subject; and

       a portable monitoring unit capable of communicating with a central monitoring device,
           the portable monitoring unit comprising:

       a programmable microprocessor in communication with the at least one automatic sensor,
           the microprocessor being responsive to the occurrence of any of a set of activating
           parameters, the activating parameters selected from the group consisting of a
           preselected state of the at least one automatic sensor and a request signal from an
           external source,

       a first transceiver in communication with the microprocessor, for communicating signals
            between the microprocessor and the central monitoring device, and

       a power supply connected to provide power to at least one of the microprocessor and the
           first transceiver.

       40.     To the extent the preamble is considered a limitation, the Second Generation

MoMe® Kardia System satisfies the preamble of claim 1 of the ‘403 patent: “Apparatus for

remotely monitoring and assessing the status of a human subject.” The Second Generation

MoMe® Kardia System includes a “wearable MoMe® Kardia Device that acquires and stores

ECG and motion (accelerometer) data and transmits that data via cellular technology to the




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MoMe® Software System …, a web-based remote server software with proprietary algorithms for

analysis ….” (Ex. L, pg. 4.)

       41.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 1 of the ‘403 patent: “at least one automatic sensor associated with and monitoring the

condition of the human subject.” The MoMe® Kardia Device includes functionality that

“acquires and stores ECG and motion (accelerometer) data.” (Ex. L, pg. 4.)

       42.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 1 of the ‘403 patent: “a portable monitoring unit capable of communicating with a

central monitoring device.” The MoMe® Kardia Device includes functionality that transmits

sensed “data via cellular technology to the MoMe® Software System …, a web-based remote

server software ….” (Ex. L, pg. 4.) The MoMe® Software System uses “an arrhythmia analysis

algorithm” to evaluate the data “when received, and any detected arrhythmias that the physician

has elected to review are presented for physician review.” (Ex. K, pg. 4.)

       43.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 1 of the ‘403 patent: “the portable monitoring unit comprising[] a programmable

microprocessor in communication with the at least one automatic sensor, the microprocessor

being responsive to the occurrence of any of a set of activating parameters, the activating

parameters selected from the group consisting of a preselected state of the at least one automatic

sensor and a request signal from an external source.” The Second Generation MoMe® Kardia

System “enables physicians to remotely transition between Holter, Event, and MCT technologies

based on patient need at any given time during their monitoring period.” (Ex. H, pg. 2.) This

“remote transition capability eliminates the need for additional patient office visits and allows

the physician to instantly change technologies depending on their detection relevance.” (Id.)

       44.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 1 of the ‘403 patent: “the portable monitoring unit comprising … a first transceiver in

communication with the microprocessor, for communicating signals between the microprocessor

and the central monitoring device.” The MoMe® Kardia Device includes “cellular technology”


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such as a “cellular modem” that allows communication with “the MoMe® Software System.”

(Ex. L, pgs. 4, 7.)

        45.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 1 of the ‘403 patent: “the portable monitoring unit comprising … a power supply

connected to provide power to at least one of the microprocessor and the first transceiver.” The

MoMe® Kardia Device includes a rechargeable battery. (Ex. L, pg. 8.)

        46.     InfoBionic became aware of the ‘403 patent at least as early as January 13, 2015,

when counsel for Plaintiffs informed counsel for InfoBionic of the ‘403 patent during a

telephone conversation addressing InfoBionic’s infringement of CardioNet intellectual property,

including the ‘403 patent.

        47.     Upon information and belief, InfoBionic likely became aware of the ‘403 patent

long before January 13, 2015, through the knowledge of its multiple executives who were former

executives or employees of CardioNet who had extensive responsibilities involving CardioNet’s

patented technologies.

        48.     InfoBionic has committed acts of infringement under 35 U.S.C. § 271. Upon

information and belief, InfoBionic’s acts of infringement are willful, intentional, and without

lawful justification, entitling Plaintiffs to damages and treble damages pursuant to 35 U.S.C.

§ 284 and reasonable attorneys fees and costs incurred in prosecuting this action pursuant to

35 U.S.C. § 285. In committing these acts of infringement, InfoBionic acted despite an

objectively high likelihood that its actions constituted infringement of at least one valid and

enforceable claim of the ‘403 patent, and InfoBionic actually knew or should have known that its

actions constituted an unjustifiably high risk of infringement of at least one valid and enforceable

claim of the ‘403 patent.




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                        COUNT II - INFRINGEMENT OF ‘901 PATENT

        49.     CardioNet repeats and realleges the allegations contained in paragraphs 1 through

47 as if fully set forth here.

        50.     InfoBionic has infringed the ‘901 patent by making, using, selling, offering for

sale, and/or importing in the United States and in this Judicial District, products, and/or software

that incorporate or make use of one or more of the inventions covered by the ‘901 patent,

including but not limited to the Second Generation MoMe® Kardia System, thereby infringing

one or more claims of the ‘901 patent.

        51.     InfoBionic’s Second Generation MoMe® Kardia System satisfies each and every

element of one or more claims of the ‘901 patent, for example, and without limitation, claim 1 of

the ‘901 patent.

        52.     Claim 1 of the ‘901 patent recites:

        Apparatus for remotely monitoring and assessing the status of a human subject, the
           apparatus comprising:

        a central monitoring device;

        at least one automatic sensor associated with and monitoring the condition of the human
             subject; and

        a portable monitoring unit capable of communicating with the central monitoring device,
            the portable monitoring unit comprising

        a remotely programmable microprocessor in communication with the at least one
            automatic sensor, the microprocessor being responsive to the occurrence of any of a
            set of activating parameters for an activation condition selected from the group
            consisting of a preselected state for the at least one automatic sensor and a request
            signal from an external source,

        a first transceiver in communication with the microprocessor, for communicating signals
             between the microprocessor and the central monitoring device, and

        a power supply connected to provide power to the microprocessor and to the first
            transceiver.




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       53.     To the extent the preamble is considered a limitation, the Second Generation

MoMe® Kardia System satisfies the preamble of claim 1 of the ‘901 patent: “Apparatus for

remotely monitoring and assessing the status of a human subject.” The Second Generation

MoMe® Kardia System includes a “wearable MoMe® Kardia Device that acquires and stores

ECG and motion (accelerometer) data and transmits that data via cellular technology to the

MoMe® Software System …, a web-based remote server software with proprietary algorithms for

analysis ….” (Ex. L, pg. 4.)

       54.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 1 of the ‘901 patent: “a central monitoring device.” The MoMe® Software System is “a

web-based remote server software with proprietary algorithms for analysis ….” (Ex. L, pg. 4.)

The MoMe® Software System uses “an arrhythmia analysis algorithm” to evaluate the data

“when received, and any detected arrhythmias that the physician has elected to review are

presented for physician review.” (Ex. K, pg. 4.)

       55.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 1 of the ‘901 patent: “at least one automatic sensor associated with and monitoring the

condition of the human subject.” The MoMe® Kardia Device includes functionality that

“acquires and stores ECG and motion (accelerometer) data.” (Ex. L, pg. 4.)

       56.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 1 of the ‘901 patent: “a portable monitoring unit capable of communicating with the

central monitoring device.” The MoMe® Kardia Device includes functionality that transmits

sensed “data via cellular technology to the MoMe® Software System …, a web-based remote

server software ….” (Ex. L, pg. 4.) The MoMe® Software System uses “an arrhythmia analysis

algorithm” to evaluate the data “when received, and any detected arrhythmias that the physician

has elected to review are presented for physician review.” (Ex. K, pg. 4.)

       57.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 1 of the ‘901 patent: “the portable monitoring unit comprising a remotely

programmable microprocessor in communication with the at least one automatic sensor, the


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microprocessor being responsive to the occurrence of any of a set of activating parameters for an

activation condition selected from the group consisting of a preselected state for the at least one

automatic sensor and a request signal from an external source.” The Second Generation MoMe®

Kardia System “enables physicians to remotely transition between Holter, Event, and MCT

technologies based on patient need at any given time during their monitoring period.” (Ex. H,

pg. 2.) This “remote transition capability eliminates the need for additional patient office visits

and allows the physician to instantly change technologies depending on their detection

relevance.” (Id.)

        58.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 1 of the ‘901 patent: “the portable monitoring unit comprising … a first transceiver in

communication with the microprocessor, for communicating signals between the microprocessor

and the central monitoring device.” The MoMe® Kardia Device includes “cellular technology”

such as a “cellular modem” that allows communication with “the MoMe® Software System.”

(Ex. L, pgs. 4, 7.)

        59.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 1 of the ‘901 patent: “the portable monitoring unit comprising … a power supply

connected to provide power to the microprocessor and to the first transceiver.” The MoMe®

Kardia Device includes a rechargeable battery. (Ex. L, pg. 8.)

        60.     InfoBionic became aware of the ‘901 patent at least as early as July 20, 2012,

which is the date of the first citation of the ‘901 patent as prior art of record during the

prosecutions of U.S. Patent Nos. 8,478,418, 8,744,561, and 8,774,932, all of which have been

assigned to InfoBionic. Additionally, on October 28, 2014, counsel for Plaintiffs informed

InfoBionic of the ‘901 patent during a telephone conversation addressing InfoBionic’s

infringement of CardioNet intellectual property, including the ‘901 patent.

        61.     Upon information and belief, InfoBionic likely became aware of the ‘901 patent

long before July 20, 2012, through the knowledge of its multiple executives who were former




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executives or employees of CardioNet who had extensive responsibilities involving CardioNet’s

patented technologies.

        62.     InfoBionic has committed acts of infringement under 35 U.S.C. § 271. Upon

information and belief, InfoBionic’s acts of infringement are willful, intentional, and without

lawful justification, entitling Plaintiffs to damages and treble damages pursuant to 35 U.S.C.

§ 284 and reasonable attorneys fees and costs incurred in prosecuting this action pursuant to

35 U.S.C. § 285. In committing these acts of infringement, InfoBionic acted despite an

objectively high likelihood that its actions constituted infringement of at least one valid and

enforceable claim of the ‘901 patent, and InfoBionic actually knew or should have known that its

actions constituted an unjustifiably high risk of infringement of at least one valid and enforceable

claim of the ‘901 patent.

                       COUNT III - INFRINGEMENT OF ‘850 PATENT

        63.     CardioNet repeats and realleges the allegations contained in paragraphs 1 through

61 as if fully set forth here.

        64.     InfoBionic has infringed and is continuing to infringe the ‘850 patent by making,

using, selling, offering for sale, and/or importing in the United States and in this Judicial District,

products, software, and/or services that incorporate or make use of one or more of the inventions

covered by the ‘850 patent, including but not limited to the Second Generation MoMe® Kardia

System, thereby infringing one or more claims of the ‘850 patent.

        65.     InfoBionic’s Second Generation MoMe® Kardia System satisfies each and every

element of one or more claims of the ‘850 patent, for example, and without limitation, claim 31

of the ‘850 patent.

        66.     Claim 31 of the ‘850 patent recites:

        A system for reporting information related to arrhythmia events comprising:

        a monitoring system configured to process and report physiological data, including heart
           rate data, for a living being and configured to identify arrhythmia events from the
           physiological data;



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       a monitoring station for receiving the physiological data from the monitoring system;

       a processing system configured to receive arrhythmia information from the monitoring
           system and configured to receive human-assessed arrhythmia information from the
           monitoring station wherein the human-assessed arrhythmia information derives from
           at least a portion of the physiological data and wherein the processing system is
           capable of pictographically presenting, using a common time scale, information
           regarding the heart rate data during a defined time period and regarding duration of
           arrhythmia event activity, according to the identified arrhythmia events, during the
           defined time period such that heart rate trend is presented with arrhythmia event
           burden.

       67.        To the extent the preamble is considered a limitation, the Second Generation

MoMe® Kardia System satisfies the preamble of claim 31 of the ‘850 patent: “A system for

reporting information related to arrhythmia events.” The Second Generation MoMe® Kardia
System includes a “wearable MoMe® Kardia Device that acquires and stores ECG and motion

(accelerometer) data and transmits that data via cellular technology to the MoMe® Software

System …, a web-based remote server software with proprietary algorithms for analysis ….”

(Ex. L, pg. 4.)

       68.        The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 31 of the ‘850 patent: “a monitoring system configured to process and report

physiological data, including heart rate data, for a living being and configured to identify

arrhythmia events from the physiological data.” The MoMe® Software Platform “processes

recorded cardiac monitoring data from ECG Devices.” (Ex. K, pgs. 4-5.) The MoMe® Software

System uses “an arrhythmia analysis algorithm” to evaluate the data “when received, and any

detected arrhythmias that the physician has elected to review are presented for physician

review.” (Ex. K, pg. 4.)

       69.        The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 31 of the ‘850 patent: “a monitoring station for receiving the physiological data from

the monitoring system.” The Second Generation MoMe® Software System operates such that

“any detected arrhythmias that the physician has elected to review are presented for physician

review.” (Ex. K, pg. 4.) The processed data “may be reviewed at anytime, anywhere by a


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physician using a standard browser with web access.” (Id. at pgs. 4-5.) It can also be “delivered

in near real-time from the Cloud directly to physicians through a convenient mobile app” for

“physician review.” (Ex. H, pg. 4.)

       70.      On information and belief, the Second Generation MoMe® Kardia System

satisfies the following limitation of claim 31 of the ‘850 patent: “a processing system configured

to receive arrhythmia information from the monitoring system and configured to receive human-

assessed arrhythmia information from the monitoring station wherein the human-assessed

arrhythmia information derives from at least a portion of the physiological data and wherein the

processing system is capable of pictographically presenting, using a common time scale,

information regarding the heart rate data during a defined time period and regarding duration of

arrhythmia event activity, according to the identified arrhythmia events, during the defined time

period such that heart rate trend is presented with arrhythmia event burden.” The MoMe® Kardia

System “collectively provide[s] for patient data entry, event review, creation of reports, and

association of devices with patient records. (Ex. K, pg. 4.) The MoMe® Kardia System

“provides information on arrhythmias detected, arrhythmia durations, activity levels, heart rate

variability and patient reported symptoms.” (Id.)

       71.      InfoBionic became aware of the ‘850 patent at least as early as Ms. McNamara’s

first employment with InfoBionic. Ms. McNamara is currently a member of InfoBionic’s

management team. While she was previously employed with CardioNet she became aware of

the ‘850 patent at least due to her involvement in a lawsuit between Plaintiffs and, inter alia,

Mednet HealthCare Technologies, Inc.

       72.      Upon information and belief, InfoBionic likely became aware of the ‘850 patent

also through the knowledge of its multiple other executives who were former executives or

employees of CardioNet who had extensive responsibilities involving CardioNet’s patented

technologies.

       73.      InfoBionic has committed and continues to commit acts of infringement under

35 U.S.C. § 271. Upon information and belief, InfoBionic’s acts of infringement are willful,


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intentional, and without lawful justification, entitling Plaintiffs to damages and treble damages

pursuant to 35 U.S.C. § 284 and reasonable attorneys fees and costs incurred in prosecuting this

action pursuant to 35 U.S.C. § 285. In committing these acts of infringement, InfoBionic acted

despite an objectively high likelihood that its actions constituted infringement of at least one

valid and enforceable claim of the ‘850 patent, and InfoBionic actually knew or should have

known that its actions constituted an unjustifiably high risk of infringement of at least one valid

and enforceable claim of the ‘850 patent.

        74.     The acts of infringement by InfoBionic set forth above have caused and will cause

Plaintiffs irreparable harm for which they have no adequate remedy at law, and will continue

unless enjoined by this Court.

                       COUNT IV - INFRINGEMENT OF ‘996 PATENT

        75.     CardioNet repeats and realleges the allegations contained in paragraphs 1 through

73 as if fully set forth here.

        76.     InfoBionic has infringed and is continuing to infringe the ‘996 patent by making,

using, selling, offering for sale, and/or importing in the United States and in this Judicial District,

products and/or software that incorporate or make use of one or more of the inventions covered

by the ‘996 patent, including but not limited to the Second Generation MoMe® Kardia System,

thereby infringing one or more claims of the ‘996 patent.

        77.     InfoBionic’s Second Generation MoMe® Kardia System satisfies each and every

element of one or more claims of the ‘996 patent, for example, and without limitation, claim 12

of the ‘996 patent.

        78.     Claim 12 of the ‘996 patent recites:

        An article comprising a machine-readable medium embodying information indicative of
           instructions that when performed by one or more machines result in operations
           comprising:

        identifying atrial fibrillation events in physiological data obtained for a living being,
            wherein identifying atrial fibrillation events comprises examining the physiological
            data in multiple time intervals, and identifying intervals in which at least one atrial


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             fibrillation event has occurred;

       obtaining heart rate data for the living being;

       receiving a human assessment of a subset of the identified atrial fibrillation events; and

       based on the human assessment of the subset of the identified atrial fibrillation events,
          pictographically presenting, using a common time scale, information regarding the
          heart rate data for the multiple time intervals during a defined time period in
          alignment with indications of atrial fibrillation activity for the identified intervals,
          according to the identified atrial fibrillation events, during the defined time period
          such that heart rate trend is presented with atrial fibrillation burden, wherein
          pictographically presenting information regarding the heart rate data comprises
          displaying for each of the multiple time intervals a range of heart rates and a heart
          rate average.

       79.      To the extent the preamble is considered a limitation, the Second Generation

MoMe® Kardia System satisfies the preamble of claim 12 of the ‘996 patent: “An article

comprising a machine-readable medium embodying information indicative of instructions that

when performed by one or more machines result in operations.” The Second Generation MoMe®

Kardia System includes a “wearable MoMe® Kardia Device that acquires and stores ECG and

motion (accelerometer) data and transmits that data via cellular technology to the MoMe®

Software System …, a web-based remote server software with proprietary algorithms for

analysis ….” (Ex. L, pg. 4.)

       80.      On information and belief, the Second Generation MoMe® Kardia System
satisfies the following limitation of claim 12 of the ‘996 patent: “identifying atrial fibrillation

events in physiological data obtained for a living being, wherein identifying atrial fibrillation

events comprises examining the physiological data in multiple time intervals, and identifying

intervals in which at least one atrial fibrillation event has occurred.” The MoMe® Software

Platform “processes recorded cardiac monitoring data from ECG Devices.” (Ex. K, pgs. 4-5.)

The MoMe® Software System uses “an arrhythmia analysis algorithm” to evaluate the data

“when received, and any detected arrhythmias that the physician has elected to review are

presented for physician review.” (Ex. K, pg. 4.)




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       81.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 12 of the ‘996 patent: “obtaining heart rate data for the living being.” The Second

Generation MoMe® Kardia System detects and “provides information on arrhythmias detected,

arrhythmia durations, activity levels, heart rate variability and patient reported symptoms.” (Ex.

K, pg. 4.)

       82.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 12 of the ‘996 patent: “receiving a human assessment of a subset of the identified atrial

fibrillation events.” The Second Generation MoMe® Software System operates such that “any

detected arrhythmias that the physician has elected to review are presented for physician

review.” (Ex. K, pg. 4.) The processed data “may be reviewed at anytime, anywhere by a

physician using a standard browser with web access.” (Id. at pgs. 4-5.) It can also be “delivered

in near real-time from the Cloud directly to physicians through a convenient mobile app” for

“physician review.” (Ex. H, pg. 4.)

       83.     On information and belief, the Second Generation MoMe® Kardia System

satisfies the following limitation of claim 12 of the ‘996 patent: “based on the human assessment

of the subset of the identified atrial fibrillation events, pictographically presenting, using a

common time scale, information regarding the heart rate data for the multiple time intervals

during a defined time period in alignment with indications of atrial fibrillation activity for the

identified intervals, according to the identified atrial fibrillation events, during the defined time

period such that heart rate trend is presented with atrial fibrillation burden, wherein

pictographically presenting information regarding the heart rate data comprises displaying for

each of the multiple time intervals a range of heart rates and a heart rate average.” The MoMe®

Kardia System “collectively provide[s] for patient data entry, event review, creation of reports,

and association of devices with patient records. (Ex. K, pg. 4.) The MoMe® Kardia System

“provides information on arrhythmias detected, arrhythmia durations, activity levels, heart rate

variability and patient reported symptoms.” (Id.)




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        84.     InfoBionic became aware of the ‘996 patent at least as early as July 20, 2012,

which is the date of the first citation of the ‘996 patent as prior art of record during the

prosecutions of U.S. Patent Nos. 8,478,418, 8,744,561, and 8,774,932, all of which have been

assigned to InfoBionic. Additionally, Ms. McNamara is currently a member of InfoBionic’s

management team. While she was previously employed with CardioNet she became aware of

the ‘996 patent at least due to her involvement in a lawsuit between Plaintiffs and, inter alia,

Mednet HealthCare Technologies, Inc.

        85.     Upon information and belief, InfoBionic likely became aware of the ‘996 patent

also through the knowledge of its multiple other executives who were former executives or

employees of CardioNet who had extensive responsibilities involving CardioNet’s patented

technologies.

        86.     InfoBionic has committed and continues to commit acts of infringement under

35 U.S.C. § 271. Upon information and belief, InfoBionic’s acts of infringement are willful,

intentional, and without lawful justification, entitling Plaintiffs to damages and treble damages

pursuant to 35 U.S.C. § 284 and reasonable attorneys fees and costs incurred in prosecuting this

action pursuant to 35 U.S.C. § 285. In committing these acts of infringement, InfoBionic acted

despite an objectively high likelihood that its actions constituted infringement of at least one

valid and enforceable claim of the ‘996 patent, and InfoBionic actually knew or should have

known that its actions constituted an unjustifiably high risk of infringement of at least one valid

and enforceable claim of the ‘996 patent.

        87.     The acts of infringement by InfoBionic set forth above have caused and will cause

Plaintiffs irreparable harm for which they have no adequate remedy at law, and will continue

unless enjoined by this Court.

                        COUNT V - INFRINGEMENT OF ‘767 PATENT

        88.     CardioNet repeats and realleges the allegations contained in paragraphs 1 through

86 as if fully set forth here.



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       89.     InfoBionic has infringed and is continuing to infringe the ‘767 patent by making,

using, selling, offering for sale, and/or importing in the United States and in this Judicial District,

products, and/or software that incorporate or make use of one or more of the inventions covered

by the ‘767 patent, including but not limited to the Second Generation MoMe® Kardia System,

thereby infringing one or more claims of the ‘767 patent.

       90.     InfoBionic’s Second Generation MoMe® Kardia System satisfies each and every

element of one or more claims of the ‘767 patent, for example, and without limitation, claim 7 of

the ‘767 patent.

       91.     Claim 9 of the ‘767 patent recites:

       A method of monitoring a patient, comprising the steps of providing a monitoring
          apparatus including

       a remote monitoring unit associated with the patient,

       a central unit, and

       a communications device which selectively establishes a communications link between
           the remote monitoring unit and the central unit;

       the remote monitoring unit obtaining a monitored data set for the patient;

       the remote monitoring unit establishing a communications link with the central unit;

       the remote monitoring unit transmitting to the central unit an initially transmitted data set
           related to the monitored data set;

       the central unit analyzing the initially transmitted data set to determine whether an
           additional data set related to the monitored data set is required to be

       transmitted by the remote monitoring unit;

       the central unit, when the additional data set related to the monitored data set is required,
           instructing the remote monitoring unit that the additional data set is to be transmitted
           from the remote monitoring unit to the central unit and instructing as to a time at
           which the additional data set is to be transmitted; and

       the remote monitoring unit transmitting the additional data set to the central unit at the
           time instructed by the central unit based on the initially transmitted data set received
           from the remote monitoring unit.




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       92.     To the extent the preamble is considered a limitation, the Second Generation

MoMe® Kardia System satisfies the preamble of claim 9 of the ‘767 patent: “A method of

monitoring a patient, comprising the steps of providing a monitoring apparatus.” The Second

Generation MoMe® Kardia System includes a “wearable MoMe® Kardia Device that acquires

and stores ECG and motion (accelerometer) data and transmits that data via cellular technology

to the MoMe® Software System …, a web-based remote server software with proprietary

algorithms for analysis ….” (Ex. L, pg. 4.)

       93.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 9 of the ‘767 patent: “a remote monitoring unit associated with the patient.” The

MoMe® Kardia Device includes functionality that transmits sensed “data via cellular technology

to the MoMe® Software System …, a web-based remote server software ….” (Ex. L, pg. 4.)

       94.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 9 of the ‘767 patent: “a central unit.” The MoMe® Software System is “a web-based

remote server software.” (Ex. L, pg. 4.) The MoMe® Software System includes “an arrhythmia

analysis algorithm” that evaluates received data. (Ex. K, pg. 4.)

       95.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 9 of the ‘767 patent: “a communications device which selectively establishes a

communications link between the remote monitoring unit and the central unit.” The MoMe®

Kardia Device includes “cellular technology” such as a “cellular modem” that allows

communication with “the MoMe® Software System.” (Ex. L, pgs. 4, 7.) The Second Generation

MoMe® Software System operates such that “any detected arrhythmias that the physician has

elected to review are presented for physician review.” (Ex. K, pg. 4.) The processed data “may

be reviewed at anytime, anywhere by a physician using a standard browser with web access.”

(Id. at pgs. 4-5.) It can also be “delivered in near real-time from the Cloud directly to physicians

through a convenient mobile app” for “physician review.” (Ex. H, pg. 4.)

       96.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 9 of the ‘767 patent: “the remote monitoring unit obtaining a monitored data set for the


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patient.” The MoMe® Kardia Device includes functionality that “acquires and stores ECG and

motion (accelerometer) data.” (Ex. L, pg. 4.)

       97.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 9 of the ‘767 patent: “the remote monitoring unit establishing a communications link

with the central unit.” The MoMe® Kardia Device “acquires and stores ECG and motion

(accelerometer) data and transmits that data via cellular technology to the MoMe® Software

System ….” (Ex. L, pg. 4.)

       98.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 9 of the ‘767 patent: “the remote monitoring unit transmitting to the central unit an

initially transmitted data set related to the monitored data set.” The MoMe® Kardia Device

“acquires and stores ECG and motion (accelerometer) data and transmits that data via cellular

technology to the MoMe® Software System ….” (Ex. L, pg. 4.)

       99.     The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 9 of the ‘767 patent: “the central unit analyzing the initially transmitted data set to

determine whether an additional data set related to the monitored data set is required to be

transmitted by the remote monitoring unit.” The Second Generation MoMe® Software System

operates such that “any detected arrhythmias that the physician has elected to review are

presented for physician review.” (Ex. K, pg. 4.) The processed data “may be reviewed at

anytime, anywhere by a physician using a standard browser with web access” or via a “mobile

app.” (Id. at pgs. 4-5; Ex. H, pg. 4) The Second Generation MoMe® Kardia System “enables

physicians to remotely transition between Holter, Event, and MCT technologies based on patient

need at any given time during their monitoring period.” (Ex. H, pg. 2.) This “remote transition

capability eliminates the need for additional patient office visits and allows the physician to

instantly change technologies depending on their detection relevance.” (Id.) Upon information

and belief, physicians may start an additional monitoring session after an initial monitoring

session has concluded. The Second Generation MoMe® Kardia System “delivers on-demand,

actionable monitoring ….” (Ex. G at 2.)


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          100.   The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 9 of the ‘767 patent: “the central unit, when the additional data set related to the

monitored data set is required, instructing the remote monitoring unit that the additional data set

is to be transmitted from the remote monitoring unit to the central unit and instructing as to a

time at which the additional data set is to be transmitted.” The Second Generation MoMe®

Kardia System “enables physicians to remotely transition between Holter, Event, and MCT

technologies based on patient need at any given time during their monitoring period.” (Ex. H,

pg. 2.) This “remote transition capability eliminates the need for additional patient office visits

and allows the physician to instantly change technologies depending on their detection

relevance.” (Id.)

          101.   The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 9 of the ‘767 patent: “the remote monitoring unit transmitting the additional data set to

the central unit at the time instructed by the central unit based on the initially transmitted data set

received from the remote monitoring unit.” The Second Generation MoMe® Kardia System’s

“remote transition capability eliminates the need for additional patient office visits and allows

the physician to instantly change technologies depending on their detection relevance.” (Ex. H,

pg. 2.) The MoMe® Kardia Device “acquires and stores ECG and motion (accelerometer) data

and transmits that data via cellular technology to the MoMe® Software System ….” (Ex. L,

pg. 4.)

          102.   InfoBionic became aware of the ‘767 patent at least as early as July 20, 2012,

which is the date of the first citation of the ‘767 patent (i.e., originally-issued U.S. Patent

No. 6,694,177) as prior art of record during the prosecutions of U.S. Patent Nos. 8,478,418,

8,744,561, and 8,774,932, all of which have been assigned to InfoBionic.

          103.   Upon information and belief, InfoBionic likely became aware of the ‘767 patent

(or originally-issued U.S. Patent No. 6,694,177) long before July 20, 2012, through the

knowledge of its multiple executives who were former executives or employees of CardioNet

who had extensive responsibilities involving CardioNet’s patented technologies.


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        104.    InfoBionic has committed and continues to commit acts of infringement under

35 U.S.C. § 271. Upon information and belief, InfoBionic’s acts of infringement are willful,

intentional, and without lawful justification, entitling Plaintiffs to damages and treble damages

pursuant to 35 U.S.C. § 284 and reasonable attorneys fees and costs incurred in prosecuting this

action pursuant to 35 U.S.C. § 285. In committing these acts of infringement, InfoBionic acted

despite an objectively high likelihood that its actions constituted infringement of at least one

valid and enforceable claim of the ‘767 patent, and InfoBionic actually knew or should have

known that its actions constituted an unjustifiably high risk of infringement of at least one valid

and enforceable claim of the ‘767 patent.

        105.    The acts of infringement by InfoBionic set forth above have caused and will cause

Plaintiffs irreparable harm for which they have no adequate remedy at law, and will continue

unless enjoined by this Court.

                       COUNT VI - INFRINGEMENT OF ‘715 PATENT

        106.    CardioNet repeats and realleges the allegations contained in paragraphs 1 through

104 as if fully set forth here.

        107.    InfoBionic has infringed and is continuing to infringe the ‘715 patent by making,

using, selling, offering for sale, and/or importing in the United States and in this Judicial District,

products, and/or software that incorporate or make use of one or more of the inventions covered

by the ‘715 patent, including but not limited to the Second Generation MoMe® Kardia System,

thereby infringing one or more claims of the ‘715 patent.

        108.    InfoBionic’s Second Generation MoMe® Kardia System satisfies each and every

element of one or more claims of the ‘715 patent, for example, and without limitation, claim 20

of the ‘715 patent.

        109.    Claim 20 of the ‘715 patent recites:

        A cardiac monitoring apparatus comprising:

        a communications interface;



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           a real-time heart beat detector;

           a frequency domain T wave filter; and

           a selector that activates the frequency domain T wave filter with respect to the real-time
               heart beat detector in response to a message, wherein the activated frequency domain
               T wave filter preprocesses a cardiac signal provided to the real-time heart beat
               detector.

           110.   To the extent the preamble is considered a limitation, the Second Generation

MoMe® Kardia System satisfies the preamble of claim 20 of the ‘715 patent: “A cardiac

monitoring apparatus.” The Second Generation MoMe® Kardia System includes a “wearable

MoMe® Kardia Device that acquires and stores ECG and motion (accelerometer) data and

transmits that data via cellular technology to the MoMe® Software System …, a web-based

remote server software with proprietary algorithms for analysis ….” (Ex. L, pg. 4.)

           111.   The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 20 of the ‘715 patent: “a communications interface.” The MoMe® Software System

“receives ECG and optional activity data from … ECG recorders over a local network or internet

connection.” (Ex. K., pg. 4.) The MoMe® Kardia Device includes “cellular technology” such as

a “cellular modem” that allows communication with “the MoMe® Software System.” (Ex. L,

pgs. 4, 7.)

           112.   The Second Generation MoMe® Kardia System satisfies the following limitation

of claim 20 of the ‘715 patent: “a real-time heart beat detector.” The MoMe® Kardia System

“receives ECG and optional activity data” and “provides information on arrhythmias detected,

arrhythmia durations, activity levels, heart rate variability and patient reported symptoms.” (Ex.

K, pg. 4.) The MoMe® Kardia Device “[c]ontinuously streams full disclosure data to the Cloud

for analysis.” (Ex. H, pg. 3.)

           113.   On information and belief, the Second Generation MoMe® Kardia System

satisfies the following limitation of claim 20 of the ‘715 patent: “a frequency domain T wave

filter.”




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       114.    On information and belief, the Second Generation MoMe® Kardia System

satisfies the following limitation of claim 20 of the ‘715 patent: “a selector that activates the

frequency domain T wave filter with respect to the real-time heart beat detector in response to a

message, wherein the activated frequency domain T wave filter preprocesses a cardiac signal

provided to the real-time heart beat detector.”

       115.    InfoBionic became aware of the ‘715 patent at least as early as July 20, 2012,

which is the date of the first citation of the ‘715 patent as prior art of record during the

prosecutions of U.S. Patent Nos. 8,478,418, 8,744,561, and 8,774,932, all of which have been

assigned to InfoBionic.

       116.    Upon information and belief, InfoBionic likely became aware of the ‘715 patent

long before July 20, 2012, through the knowledge of its multiple executives who were former

executives or employees of CardioNet who had extensive responsibilities involving CardioNet’s

patented technologies.

       117.    InfoBionic has committed and continues to commit acts of infringement under

35 U.S.C. § 271. Upon information and belief, InfoBionic’s acts of infringement are willful,

intentional, and without lawful justification, entitling Plaintiffs to damages and treble damages

pursuant to 35 U.S.C. § 284 and reasonable attorneys fees and costs incurred in prosecuting this

action pursuant to 35 U.S.C. § 285. In committing these acts of infringement, InfoBionic acted

despite an objectively high likelihood that its actions constituted infringement of at least one

valid and enforceable claim of the ‘715 patent, and InfoBionic actually knew or should have

known that its actions constituted an unjustifiably high risk of infringement of at least one valid

and enforceable claim of the ‘715 patent.

       118.    The acts of infringement by InfoBionic set forth above have caused and will cause

Plaintiffs irreparable harm for which they have no adequate remedy at law, and will continue

unless enjoined by this Court.




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           COUNT VII - MISAPPROPRIATION OF TRADE SECRETS UNDER
              MASSACHUSETTS GENERAL LAWS, CHAPTER 93, § 42
                     AND MASSACHUSETTS COMMON LAW

        119.    CardioNet repeats and realleges the allegations contained in paragraphs 1 through

117 as if fully set forth here.

        120.    Source code developed by, and on behalf of, CardioNet for the MCOTTM System,

including but not limited to the algorithms for the detection of atrial fibrillation, constitutes trade

secret information under Mass. Gen. Laws c. 93, § 42 and Massachusetts common law.

        121.    CardioNet took and continues to take reasonable steps to protect the secrecy of

this information, including by limiting access to this information and requiring employees to sign

nondisclosure and confidentiality agreements. CardioNet has expended significant amounts of

effort and money to develop this trade secret information.

        122.    InfoBionic knowingly benefited from the use of CardioNet’s trade secrets,

including source code, which were wrongfully acquired and/or retained by Dr. Kuppuraj in

breach of a confidential relationship and contractual agreements, including the Proprietary

Information Agreement, Employment Agreement, and/or Confidentiality and Non-Disclosure

Agreement.

        123.    Upon information and belief, Dr. Kuppuraj provided CardioNet’s trade secrets to

InfoBionic in breach of his contractual obligations to CardioNet, and InfoBionic misappropriated

misused CardioNet’s trade secrets by illegally copying and/or using CardioNet’s source code,

including an atrial fibrillation detection algorithm, in the First Generation MoMe® Kardia

System.

        124.    InfoBionic’s use of CardioNet’s trade secrets is a violation of Mass. Gen. Laws c.

93, § 42 and Massachusetts common law.

        125.    InfoBionic’s misappropriation has resulted in damages to CardioNet and unjust

enrichment to InfoBionic in an amount to be proved at trial, but in any event no less than

$75,000. Additionally, these actions have caused, and continue to cause, irreparable harm to



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CardioNet for which CardioNet has no adequate remedy at law. As a result, InfoBionic should

be enjoined from any further use of misappropriated CardioNet trade secrets or other intellectual

property.

  COUNT VIII - VIOLATION OF PENNSYLVANIA’S UNIFORM TRADE SECRETS
                                 ACT

        126.    CardioNet repeats and realleges the allegations contained in paragraphs 1 through

124 as if fully set forth here.

        127.    The underlying source code developed by, and/or on behalf of CardioNet, for

CardioNet’s MCOTTM System, including but not limited to the algorithms for the detection of

atrial fibrillation, are trade secrets that derive independent economic value from not being

generally known and provide CardioNet with a competitive business advantage.

        128.    CardioNet took and continues to take reasonable steps to protect the secrecy of its

source code and related algorithms, including by limiting access to this information and requiring

employees to sign nondisclosure and confidentiality agreements. CardioNet has expended

significant amounts of effort and money to develop this trade secret information.

        129.    InfoBionic, on information and belief through the actions of its Co-Founder

Dr. Kuppuraj and in breach of Dr. Kuppuraj’s contractual obligations to CardioNet, copied

and/or used source code owned by CardioNet, including atrial fibrillation detection algorithms,

in InfoBionic’s First Generation MoMe® Kardia System. On information and belief,

Dr. Kuppuraj illegally shared CardioNet’s trade secrets with InfoBionic and InfoBionic used

those secrets to develop products for InfoBionic.

        130.    InfoBionic misappropriated CardioNet’s trade secrets by using CardioNet’s

source code and atrial fibrillation detection algorithms in its First Generation MoMe® Kardia

System without CardioNet’s consent and in violation of 12 Pa. Cons. Stat. §§5301 et seq.

        131.    InfoBionic’s misappropriation has resulted in damages to CardioNet and unjust

enrichment to InfoBionic in an amount to be proved at trial, but in any event no less than

$75,000. These actions have caused, and continue to cause, irreparable harm to CardioNet for


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which CardioNet has no adequate remedy at law. As a result, InfoBionic should be enjoined

from any further use of misappropriated CardioNet trade secrets and CardioNet should be

awarded actual damages, including, but not limited to, all of InfoBionic’s profits derived from its

illegal activities as well as punitive damages.

    COUNT IX - UNFAIR COMPETITION UNDER MASSACHUSETTS GENERAL
        LAWS, CHAPTER 93A, AND PENNSYLVANIA COMMON LAW

        132.    CardioNet repeats and realleges the allegations contained in paragraphs 1 through

130 as if fully set forth here.

        133.    CardioNet and InfoBionic are persons engaged in trade or commerce as defined

by Mass. Gen. Laws c. 93A.

        134.    Through InfoBionic’s knowing and willful misappropriation and use of

CardioNet’s trade secrets for its own profits, InfoBionic has knowingly and willfully engaged in

unfair methods of competition and unfair or deceptive trade practices.

        135.    On information and belief, InfoBionic’s unfair methods of competition and unfair

or deceptive trade practices have occurred primarily and substantially within Massachusetts and

most or all of the remaining activities or effects occurred within Pennsylvania.

        136.    InfoBionic’s engagement in unfair methods of competition and unfair or

deceptive trade practices has resulted in damages to CardioNet and unjust enrichment to

InfoBionic in an amount to be proved at trial, but in any event no less than $75,000. These

actions have caused, and continue to cause, irreparable harm to CardioNet for which CardioNet

has no adequate remedy at law.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray for judgment against InfoBionic as follows:

        A.      Declaring that the ‘403 patent was duly and legally issued, and is valid and

                enforceable;

        B.      Declaring that the ‘901 patent was duly and legally issued, and is valid and



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         enforceable;

C.       Declaring that the ‘850 patent was duly and legally issued, and is valid and

         enforceable;

D.       Declaring that the ‘996 patent was duly and legally issued, and is valid and

         enforceable;

E.       Declaring that the ‘767 patent was duly and legally issued, and is valid and

         enforceable;

F.       Declaring that the ‘715 patent was duly and legally issued, and is valid and

         enforceable;

G.       Declaring that InfoBionic has infringed the ‘403 patent;

H.       Declaring that InfoBionic has willfully infringed the ‘403 patent;

I.       Declaring that InfoBionic has infringed the ‘901 patent;

J.       Declaring that InfoBionic has willfully infringed the ‘901 patent;

K.       Declaring that InfoBionic has infringed the ‘850 patent;

L.       Declaring that InfoBionic has willfully infringed the ‘850 patent;

M.       Declaring that InfoBionic has infringed the ‘996 patent;

N.       Declaring that InfoBionic has willfully infringed the ‘996 patent;

O.       Declaring that InfoBionic has infringed the ‘767 patent;

P.       Declaring that InfoBionic has willfully infringed the ‘767 patent;

Q.       Declaring that InfoBionic has infringed the ‘715 patent;

R.       Declaring that InfoBionic has willfully infringed the ‘715 patent;

S.       Awarding to Plaintiffs damages caused by InfoBionic’s infringement, including

         all lost profits resulting from InfoBionic’s acts of infringement, and reasonable




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      royalties, together with pre-judgment and post-judgment interest;

T.    Awarding to Plaintiffs treble damages for infringement of the ‘403, ‘901, ‘850,

      ‘996, ‘767, and ‘715 patents as a consequence of InfoBionic’s willful

      infringement;

U.    Preliminarily and permanently enjoining InfoBionic, its officers, agents, servants,

      employees, attorneys, all parent and subsidiary corporations and affiliates, its

      assigns and successors in interest, and those persons in active concert or

      participation with InfoBionic who receive notice of the injunction, from

      continuing acts of infringement of the ‘850, ‘996, ‘767, and ‘715 patents;

V.    Adjudging this an exceptional case and awarding to Plaintiffs their reasonable

      attorneys fees pursuant to 35 U.S.C. § 285;

W.    Declaring that InfoBionic has misappropriated CardioNet’s trade secrets under

      Massachusetts General Laws, Chapter 93, § 42 and Massachusetts Common Law;

X.    Declaring that InfoBionic violated Pennsylvania’s Uniform Trade Secrets Act;

Y.    Declaring that InfoBionic has engaged in unfair competition under Massachusetts

      General Laws, Chapter 93A and Pennsylvania Common Law;

Z.    Preliminarily and permanently enjoining InfoBionic, its officers, agents, servants,

      employees, attorneys, all parent and subsidiary corporations and affiliates, its

      assigns and successors in interest, and those persons in active concert or

      participation with InfoBionic who receive notice of the injunction, from any and

      all disclosures or uses of Plaintiffs’ trade secrets;

AA.   Awarding to Plaintiffs all available damages, including compensatory damages,

      exemplary damages, and/or damages for unjust enrichment, resulting from




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      InfoBionic’s misappropriation of trade secrets under Massachusetts General

      Laws, Chapter 93, § 42 and Massachusetts Common Law;

BB.   Awarding to Plaintiffs all available damages, including compensatory damages,

      exemplary damages, and/or damages for unjust enrichment, resulting from

      InfoBionic’s violation of Pennsylvania’s Uniform Trade Secrets Act;

CC.   Awarding to Plaintiffs all available damages, including compensatory damages,

      exemplary damages, and/or damages for unjust enrichment, to compensate for

      InfoBionic’s unfair competition under Massachusetts General Laws, Chapter 93A,

      and Pennsylvania Common Law;

DD.   Awarding to Plaintiffs punitive damages in an amount to be decided by this

      Court; and

EE.   Awarding to Plaintiffs their costs and disbursements incurred in this action;

FF.   Awarding to Plaintiffs such other and further relief as this Court may deem just

      and proper.




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                                     JURY TRIAL DEMANDED

           Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a trial by jury on all of the claims so

triable.



                                                  Respectfully submitted,

                                                  SIDLEY AUSTIN LLP


Dated: March 20, 2017                             By: /s/ Bradford J. Badke

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 20, 2017, I electronically filed the foregoing with the Clerk

of the Court using the Court’s CM/ECF system, which will send notification of such filing to the

attorney of record for each party.


                                                     /s/ Bradford J. Badke
                                                     Bradford J. Badke
